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                                                          [Doc. No. 4]

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE


 SUN VALLEY ORCHARDS, LLC

                       Plaintiff,        Civil No. 21-16625(JHR/MJS)
             v.
                                                           ORDER
 U.S. DEPARTMENT OF LABOR, et al.

                        Defendants.


      This matter having been brought before the Court by Scott

Wilhelm, Esquire, counsel for plaintiff, for an Order allowing

Robert E. Johnson, Esquire to appear and participate pro hac vice;

and the Court having considered the moving papers; and there being

no   opposition   to   this   application;   and   for   good   cause   shown

pursuant to Local Rule 101.1(c), United States District Court for

the District of New Jersey;

      IT IS this 13th day of October, 2021, hereby

      ORDERED that Robert E. Johnson, Esquire, a member in good

standing of the bar of the States of Ohio and Virginia and the

District of Columbia, be permitted to appear pro hac vice in the

above-captioned matter in the United States District Court for the

District of New Jersey pursuant to Local Rule 101.1(c); provided,

however, that all pleadings, briefs and other papers filed with

the Court shall be signed by, Scott Wilhelm, Esquire, who is a
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member in good standing with the Bar of the Supreme Court of New

Jersey and the Bar of this Court, who shall be held responsible

for said papers and for the conduct of the case, and who shall be

present before the Court during all phases of this proceeding,

unless   expressly    excused   by     the   Court,    as   well   as   be   held

responsible for the conduct of the attorney admitted pro hac vice

pursuant to this Order; and it is further

     ORDERED that, pursuant to L. CIV. R. 101.1(c)(2), Robert E.

Johnson, Esquire, shall pay the annual fee to the New Jersey

Lawyers' Fund for Client Protection in accordance with New Jersey

Court Rule 1:28-2 within twenty (20) days from the date of the

entry of this Order, and this payment shall be made for any year

in which the admitted attorney continues to represent a client in

a matter pending in this Court; and it is further

     ORDERED that, pursuant to L. CIV. R. 101.1(c)(3), Robert E.

Johnson,   Esquire,    shall    make    a    payment   of   $150.00     on   each

admission, payable to the Clerk, United States District Court; and

it is further

     ORDERED that Robert E. Johnson, Esquire, shall be bound by

the General and Admiralty Rules of the United States District Court

for the District of New Jersey, including but not limited to the

provisions of Local Rule 103.1, Judicial Ethics and Professional

Responsibility, and Local Rule 104.1, Discipline of Attorneys; and

it is further


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     ORDERED that, pursuant to L. CIV. R. 101.1(c)(4), Robert E.

Johnson, Esquire, shall be deemed to have agreed to take no fee in

any tort case in excess of the New Jersey Court Contingency Fee

Rule, Rule 1:21-7, as amended.

                                   s/ Matthew J. Skahill
                                   MATTHEW J. SKAHILL
                                   United States Magistrate Judge




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